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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

YIRIES JOSEPH ASEF SAAD MAURA,          CLASS ACTION COMPLAINT
WILLIAM LÓPEZ COLÓN, his spouse
NANCY COLÓN BERRÍOS and the             CIVIL NO. 3:17-cv-2263
CONJUGAL               PARTNERSHIP
CONSTITUTED      BETWEEN       THEM,    CONSTITUTION OF THE UNITED
GILBERTO GONZÁLEZ VÉLEZ, JESÚS          STATES OF AMERICA FIFTH AND
EMMANUEL MONROIG JIMÉNEZ his            FOURTEENTH     AMENDMENT       DUE
spouse JAZMÍN ERIKA RODRÍGUEZ           PROCESS RIGHTS, TRUTH IN LENDING
MORALES      and   the    CONJUGAL      ACT”, REGULATION Z OF SUCH (TILA),
PARTNERSHIP            CONSTITUTED      REAL      ESTATE       SETTLEMENT
BETWEEN THEM, MARETZA MÉNDEZ            PROCEDURES ACT, REGULATION X OF
MUÑIZ,     ROLANDO       RADHAMÉS       SUCH (RESPA), HOME MORTGAGE
GUTIÉRREZ DE JESÚS         his spouse   DISCLOSURE ACT, REGULATION C OF
ZULEIKA COSME RIVERA and the            SUCH (HMDA), HOME OWNERSHIP AND
CONJUGAL               PARTNERSHIP      EQUITY PROTECTION ACT (HOEPA),
CONSTITUTED      BETWEEN       THEM,    EQUAL CREDIT OPPORTUNITY ACT,
SONIA YVID CONDE BURGOS, NELLY          REGULATION B OF SUCH (ECOA), FAIR
RAMONITA GONZÁLEZ RODRÍGUEZ,            AND        ACCURATE          CREDIT
JAVIER     BAERGA       SCHROEDER,      TRANSACTIONS       (FACT),    HOME
CARLOS JOSÉ SUÁREZ GUILLÉN,             OWNERS PROTECTION ACT (HOPA),
ANTONIO ROSA AGOSTO, MARILYN            GRAMM LEACH-BLILEY ACT (GLBA),
DELGADO PÉREZ, GERARDO ACOSTA           AMONG     OTHERS.     EITHER    THE
FIGUEROA his spouse NEIDA INÉS          DEFENDANTS OR THE FIRM HIRED FOR
HERNÁNDEZ IRIZARRY and the              DEBT COLLECTION DID NOT COMPLY
CONJUGAL               PARTNERSHIP      WITH FEDERAL LAW, TO WIT; FAIR
CONSTITUTED      BETWEEN       THEM,    CREDIT REPORTING ACT, REGULATION
JULIO VÍCTOR CASTRO LÓPEZ his           V OF SUCH, AND THE FAIR DEBT
spouse MADELINE TRINIDAD DÍAZ and       COLLECTION PRACTICES ACT (FDCPA),
the     CONJUGAL       PARTNERSHIP      CONSUMER FINANCIAL PROTECTION
CONSTITUTED BETWEEN THEM, LUIS          BUREAU (CFPB), QUALIFIED WRITTEN
ÁNGEL MARTÍNEZ OTERO his spouse         REQUESTS (QWR's), SECURE AND FAIR
DAMARIS TORRES NUÑEZ and the            ENFORCEMENT      FOR     MORTGAGE
CONJUGAL               PARTNERSHIP      LICENSING ACT (“SAFE ACT”), DODD-
CONSTITUTED      BETWEEN       THEM,    FRANK FINANCIAL REFORM ACT (THE
GABRIEL CHÁVEZ DÍAZ his spouse          “DODD-FRANK ACT”), HARP, HAMP
NAHIR ZARAGOZA VALLE and the            AND SUPPLEMENTAL JURISDICTION.
CONJUGAL               PARTNERSHIP
CONSTITUTED      BETWEEN       THEM,    JURY TRIAL DEMANDED
SONIA LINNETTE ROMERO RAMOS,
ROBERTO PÉREZ RAMÍREZ his spouse
CLARIVETTE CASTRO NARVÁEZ and
the     CONJUGAL       PARTNERSHIP
CONSTITUTED      BETWEEN       THEM,
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LIZZETTE      MARÍA      ALEJANDRO
OCASIO, MILKA YADIRA RIVERA
RIVERA, MIRIAM THERESA RIVERA
TORRES, TOMÁS A VÉLEZ MARTÍNEZ
his  spouse    GLORISA     CORDERO
CABRERA      and    the   CONJUGAL
PARTNERSHIP             CONSTITUTED
BETWEEN         THEM,        HAYDEE
RODRÍGUEZ       NICHOLS,     RAFAEL
ANTONIO FONSECA MARRERO, LADY
TRISTANY      MELÉNDEZ,     VIVIANA
SÁNCHEZ SERRANO, SANTA ORTIZ
SALINAS, JAVIER ANTONIO RIVERA
DUEÑO      his    spouse    YAMELIT
MALDONADO SOTO and the CONJUGAL
PARTNERSHIP             CONSTITUTED
BETWEEN THEM, CARMEN JOSEFINA
VALENTÍN DÁVILA, VIVIAN ENID
FLORES MERCED, MARÍA ISABEL
TORO LEVY, ESTATE OF JUAN
ARSENIO VELÁZQUEZ DURÁN, LESLIE
MOLINA CANCEL, SANDRA DE LOS
ÁNGELES FERNÁNDEZ GARCÍA, INÉS
YAMIRA RIVERA AQUINO, JOSÉ
ANTONIO DÍAZ PÉREZ, PROVIDENCIA
RODRÍGUEZ VEGA, LUIS EDUARDO
PARDO TORO, EVELYN IVETTE PÉREZ
LOURIDO, JOSÉ MANUEL RIVERA
COLÓN his spouse IVETTE MARÍA
PÉREZ NIEVES and the CONJUGAL
PARTNERSHIP             CONSTITUTED
BETWEEN THEM, EDWIN CASILLAS
BERRÍOS his spouse MARÍA FELÍCITA
ANDRADE MALDONADO and the
CONJUGAL                PARTNERSHIP
CONSTITUTED      BETWEEN       THEM,
RAMÓN SÁNCHEZ PAGÁN, JOSÉ
MANUEL LÓPEZ CRUZ his spouse
MARÍA DE LOURDES BLECK ESTEVES
and the CONJUGAL PARTNERSHIP
CONSTITUTED      BETWEEN       THEM,
RAFAEL      EDUARDO        NARVÁEZ
CABEZAS, VIRGEN NOEMI MARRERO
CARBALLO,      ENRIQUE      TOLLENS
ACOSTA his spouse DIANNETTE
GONZÁLEZ       CHARLES      and   the
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CONJUGAL              PARTNERSHIP
CONSTITUTED       BETWEEN     THEM,
FRANCISCA       CHARLES      BELÉN,
ANASTACIO       FALCÓN    ROSARIO,
ESTATE     OF    MARISOL    AMARO
MEDINA,      RAFAEL     RODRÍGUEZ
RIVERA,     CATHERINE    MORALES
CASTRO, MICHAEL JOSEPH MORRIS
ZAMORA,       FERNANDO      SUÁREZ
GUILLÉN, JORGE CEDEÑO, LUIS
EDGARDO        SANTIAGO     COLÓN,
ADALBERTO REYES GARCED his spouse
GLADYS MARIE RIVERA RODRÍGUEZ
and the CONJUGAL PARTNERSHIP
CONSTITUTED       BETWEEN     THEM,
ÁNGEL LUIS BERRÍOS ORTIZ his spouse
GISELA RIVERA SANTIAGO and the
CONJUGAL              PARTNERSHIP
CONSTITUTED       BETWEEN     THEM,
MARÍA MARGARITA ONDINA GORDO,
WALDEMIR         COLÓN     LEBRÓN,
MANUEL ÁNGEL VEGA BONILLA his
spouse PAMELA IVETTE PÉREZ RIVERA
and the CONJUGAL PARTNERSHIP
CONSTITUTED       BETWEEN     THEM,
REINALDO OQUENDO VEGA his spouse
MARIBEL HERNÁNDEZ PÉREZ and the
CONJUGAL              PARTNERSHIP
CONSTITUTED BETWEEN THEM, IVÁN
RAFAEL SOTOMAYOR SERRA his
spouse MARÍA VELILLA SOTOMAYOR
and the CONJUGAL PARTNERSHIP
CONSTITUTED       BETWEEN     THEM,
WANDA LEILANY ALEJANDRO RUIZ,
ÁNGELA LUCÍA ROSARIO DE LEÓN,
IRIS YOLANDA CARDONA TIRADO,
JOSÉ ALBERTO HERNÁNDEZ TORRES,
RUBÉN MIRANDA MERCADO
his spouse SONIA ACEVEDO and the
CONJUGAL              PARTNERSHIP
CONSTITUTED       BETWEEN     THEM,
ROBERTO SALICRUP HERNÁNDEZ his
spouse GLORIA MARÍA RUIZ COLÓN and
the     CONJUGAL      PARTNERSHIP
CONSTITUTED BETWEEN THEM, JOSÉ
ALFREDO JIMÉNEZ FIGUEROA, JULIO
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RONDÓN REYES his spouse GRISETH
MOJICA GONZÁLEZ and the CONJUGAL
PARTNERSHIP             CONSTITUTED
BETWEEN THEM, JAIME RAFAEL
VIDAL RODRÍGUEZ            his spouse
DINORAH SÁNCHEZ FIGUEROA and the
CONJUGAL                PARTNERSHIP
CONSTITUTED       BETWEEN       THEM,
HARRY RODRÍGUEZ CRUZ, JUAN
FERNANDO CRUZ TORRES
his spouse EVELYN MORALES SUÁREZ
and the CONJUGAL PARTNERSHIP
CONSTITUTED       BETWEEN       THEM,
MANUEL IVÁN CRIADO CRIADO his
spouse ZAYRA DEL ROSARIO TORRES
MATOS        and    the    CONJUGAL
PARTNERSHIP             CONSTITUTED
BETWEEN THEM, JUAN MANUEL
RODRÍGUEZ IRIZARRY his spouse
MARÍA MILAGROS DURÁN MORALES
and the CONJUGAL PARTNERSHIP
CONSTITUTED       BETWEEN       THEM,
CLARA MORETA RODRÍGUEZ, IAN
DEL LLANO JIMÉNEZ his spouse KAREN
BARREDA RIVERA and the CONJUGAL
PARTNERSHIP             CONSTITUTED
THEREIN, RUTH NOEMI RIVERA
COLÓN, JOSÉ ANTONIO CONCEPCIÓN
SOTO his spouse NÉLIDA RAMOS LÓPEZ
and the CONJUGAL PARTNERSHIP
CONSTITUTED THEREIN, LILLIAM
BETHZAIDA HERNÁNDEZ AMARO,
JOSÉ ANTONIO VALDIVIA, AMETZA
DELGADO        CARDONA,      WILLIAM
PAGÁN       RODRÍGUEZ     his    spouse
EULOGIA R DEL RÍO TORRES and the
CONJUGAL                PARTNERSHIP
CONSTITUTED THEREIN, MARCELO
MERCADO ORTIZ, MORAIMA RIVERA
GONZÁLEZ,
CARMEN GLORIA GARCÍA RIVERA,
PEDRO SEVILLA ESTELA, his spouse
MARITZA RIVERA RODRÍGUEZ and the
CONJUGAL                PARTNERSHIP
CONSTITUTED THEREIN, GLORIA
MARGARITA         ALICEA      RIVERA,
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REYNALDO        RODRÍGUEZ COLÓN,
DENISSE DEMOYA BURGOS, LUIS
FRANCISCO ORTIZ OSUNA his spouse
GRORIBEL SOTO DE JESÚS and the
CONJUGAL                 PARTNERSHIP
CONSTITUTED        THEREIN,     PABLO
GUADALUPE MENDOZA his spouse
ANTUANETTE RAMOS AYALA and the
CONJUGAL                 PARTNERSHIP
CONSTITUTED THEREIN, LUZ ESTELA
POUERIET DIAZ, EMERITO RUÍZ
RODRÍGUEZ his spouse OLGA IVETTE
SANABRIA VELÁZQUEZ and the
CONJUGAL                 PARTNERSHIP
CONSTITUTED THEREIN, PATRICIO
RODRÍGUEZ LÓPEZ his spouse EUNICE
MARIBEL LUGO MEJÍAS and the
CONJUGAL                 PARTNERSHIP
CONSTITUTED THEREIN, JOHNNY
EDGAR MELÉNDEZ GONZÁLEZ his
spouse MARÍA BELÉN DÍAZ RIVERA and
the      CONJUGAL        PARTNERSHIP
CONSTITUTED THEREIN, JUAN DÍAZ
PÉREZ his spouse CARMEN NÉLIDA
BRAVO SOTO and the CONJUGAL
PARTNERSHIP              CONSTITUTED
THEREIN, ROLANDO ÁVILA PÉREZ his
spouse     ELIZABETH       CHAMPAÑA
GAGNERON, and the CONJUGAL
PARTNERSHIP              CONSTITUTED
THEREIN, HIRÁN ORTIZ ORTIZ,
MIGUEL ÁNGEL MÁRQUEZ CAMACHO
his    spouse   MARIBEL      SANTANA
SANTANA,       and   the    CONJUGAL
PARTNERSHIP              CONSTITUTED
THEREIN, YASSER CRUZ PADILLA his
spouse    ALBA     YANIRA      TORRES
CINTRÓN,      and    the    CONJUGAL
PARTNERSHIP              CONSTITUTED
THEREIN, DONOVAN MALDONADO
CRUZ,      MARÍA     AWILDA      CRUZ
ACEVEDO,        YOLANDA       ARROYO
FONTÁNEZ,        MANUEL      ANTONIO
TOLEDO GARCÍA his spouse BRUNILDA
ROJAS GONZÁLEZ, and the CONJUGAL
PARTNERSHIP              CONSTITUTED
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THEREIN, FERNANDO LUIS ROSARIO
CARDONA his spouse RODYLOIDA RUÍZ
DELGADO      and   the    CONJUGAL
PARTNERSHIP            CONSTITUTED
THEREIN,    NERISLIANG      CRESPO
RIVERA, ISMAEL PAGÁN CEDEÑO his
spouse WANDA GONZÁLEZ RIVERA and
the     CONJUGAL       PARTNERSHIP
CONSTITUTED THEREIN, JOSÉ M.
CURET SALIM his spouse JUANITA
ALVARADO SÁEZ and the CONJUGAL
PARTNERSHIP            CONSTITUTED
THEREIN, RICARDO JOSÉ VÁZQUEZ
SERRA,      YVETTE        LORRAINE
BONHOMME SANTOS, RICARDO RENÉ
SOTO BONILLA, JORGE JOSÉ ROSA
MIRANDA, MARÍA ISABEL OTERO
CARABALLO,                  ANNIEL
CARRASQUILLO AMARO, GLENDA
MARIE VIERA RIVERA, ESTATE OF
ÁNGEL MANUEL LLORENS ORLANDI,
JUDITH MATOS NEGRÓN, ESTATE OF
SOL MARGARITA CABRERA MUÑOZ,
ESTATE OF VIRGILIO OSCAR RIVERA
RODRÍGUEZ,     DESERIE     CINTRÓN
CABRERA, NELSON NUÑEZ ROLÓN his
spouse MAYRA ELENA ORTIZ RENTAS
and the CONJUGAL PARTNERSHIP
CONSTITUTED THEREIN, NELSON
ALVARADO HERNÁNDEZ, EDWIN
GIRALD TORRES his spouse MYRNA
PÉREZ MORALES and the CONJUGAL
PARTNERSHIP            CONSTITUTED
THEREIN, GINNETTE PÉREZ CAMPO,
GILBERTO CRUZ PÉREZ, ÁNGEL LUIS
MATOS       RAMOS,       ILDEFONSO
MARTÍNEZ      SANTIAGO,     EVELYN
RAMOS CORTES, LUIS EUGENIO DIOU
AGRAIT, his spouse MARÍA DE LOS
ÁNGELES COLÓN MOREL and the
CONJUGAL               PARTNERSHIP
CONSTITUTED THEREIN, GILBERT
ARROYO LOPERENA his spouse LEIDA
MÉNDEZ PAGÁN and the CONJUGAL
PARTNERSHIP            CONSTITUTED
THEREIN, ESTATE OF EDWIN PÉREZ
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AYALA,       MARGARITA        RIVERA
RIVERA, EDA PÉREZ CABRERA,
EDWIN GLASS MARTÍNEZ his spouse
CARMEN RIVERA VILLEDA and the
CONJUGAL                 PARTNERSHIP
CONSTITUTED         THEREIN,     JOHN
MACEIRA      LÓPEZ,      MARCOS      E
RODRÍGUEZ GÓMEZ his spouse NANCY
MELÉNDEZ       VALENTÍN      and   the
CONJUGAL                 PARTNERSHIP
CONSTITUTED        THEREIN,    EDWIN
MARTÍNEZ RIVERA, JOAQUÍN JOSÉ
JARQUE RODRÍGUEZ, ÁNGEL LOUIS
CARMONA BENET his spouse MARÍA DE
LOS ÁNGELES HERNÁNDEZ DÍAZ and
the    CONJUGAL          PARTNERSHIP
CONSTITUTED THEREIN, FÉLIX JOSÉ
RIVERA PÉREZ, CARMEN GLORIA
GÓMEZ NUÑEZ, JOHANN ENID
MARTÍNEZ ORTIZ, EDWIN MARRERO
TORRES, ARÍSTIDES LÓPEZ RAMOS his
spouse MARÍA MERCEDES REYES
CONCEPCIÓN and the CONJUGAL
PARTNERSHIP              CONSTITUTED
THEREIN, ANA LUISA BERRÍOS
DOBLE, SARA VICTORIA COLÓN
VEGA, IVÁN DAVID COLÓN VEGA,
ESTATE OF JULIO ENRIQUE COLÓN,
ÁNGEL LUIS DÁVILA REYES, NESTOR
CRUZ DÍAZ his spouse ADELIZ FERRER
DECAMPS       and    the    CONJUGAL
PARTNERSHIP              CONSTITUTED
THEREIN,      FRIDA       MARCHOSKY
KOGAN, JUAN ERNESTO DEL ROSARIO
MASINI his spouse IVEA MARÍA SELLES
HERNÁNDEZ and the CONJUGAL
PARTNERSHIP              CONSTITUTED
THEREIN, JOSÉ GERALDO ROMÁN
GONZÁLEZ       his   spouse   EVELYN
SERRANO AGUEDA and the CONJUGAL
PARTNERSHIP              CONSTITUTED
THEREIN, HÉCTOR LUIS RIVERA
RODRÍGUEZ his spouse OLGA ENETTE
RIVERA CRESPI and the CONJUGAL
PARTNERSHIP              CONSTITUTED
THEREIN, EUGENIO JOEL RAMOS
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CALDERÓN       his    spouse    ERIKA
ENCARNACIÓN SÁNCHEZ and the
CONJUGAL                PARTNERSHIP
CONSTITUTED THEREIN, RAMÓN LUIS
SOTO MORALES his spouse ELSIE
SUSAN SANCHEZ GONZALEZ and the
CONJUGAL                PARTNERSHIP
CONSTITUTED        THEREIN,     EDWIN
FRANCISCO RODRÍGUEZ his spouse
LOURDES HERNÁNDEZ LLANES and the
CONJUGAL                PARTNERSHIP
CONSTITUTED THEREIN, FRANCISCA
CRUZ      DELGADO,     ÁNGEL      LUIS
RODRÍGUEZ CAMACHO his spouse
SANDRA IVETTE ROMÁN DÍAZ and the
CONJUGAL                PARTNERSHIP
CONSTITUTED THEREIN, CARLOS
ALBERTO ÁLVAREZ RIVERA his spouse
WILMA GÁNDARA GORRITZ and the
CONJUGAL                PARTNERSHIP
CONSTITUTED        THEREIN,     PEDRO
RAFAEL HERNÁNDEZ SÁNCHEZ his
spouse ZORAIDA SANTOS PAGÁN and
the     CONJUGAL        PARTNERSHIP
CONSTITUTED THEREIN, ESTHER
ROSA LÓPEZ MEDINA, AGUSTÍN
ALEJANDRO CRUZ his spouse EILEEN
DALMARY JIMÉNEZ GAVILLÁN and the
CONJUGAL                PARTNERSHIP
CONSTITUTED         THEREIN,      JOSÉ
ANTONIO       LAPORTE         ESPADA,
ROBERTO       OCANA          SERRANO,
ALEJANDRO ESTRADA MAISONET his
spouse DIANNE QUILES LUGO and the
CONJUGAL                PARTNERSHIP
CONSTITUTED THEREIN, YOLANDA
QUILES SERRANO, CECILIO ALLENDE
QUIÑONES his spouse WANDA I
VILLAFAÑE MATOS and the CONJUGAL
PARTNERSHIP             CONSTITUTED
THEREIN,        JESÚS         MANUEL
MALDONADO PÉREZ his spouse OLGA I.
GONZÁLEZ DÍAZ and the CONJUGAL
PARTNERSHIP             CONSTITUTED
THEREIN, DEOGRACIA TAPIA FEBRES
his spouse CARMEN BENÍTEZ GARAY
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and the CONJUGAL PARTNERSHIP
CONSTITUTED        THEREIN,     JOSE
ANTONIO GONZÁLEZ ARCE his spouse
EVELYN CRUZ FLORES and the
CONJUGAL                PARTNERSHIP
CONSTITUTED THEREIN, HILDA DEL
ROSARIO    FIGUEROA       SANTIAGO,
RUZAIDI    VILLAFANE       ESQUILIN,
EFRAÍN LLANES COLÓN his spouse
XIOMARA ZABALA GARCÍA and the
CONJUGAL                PARTNERSHIP
CONSTITUTED       THEREIN,     ERVÍN
RODRÍGUEZ LABOY his spouse GLORIA
BERMÚDEZ        VARGAS     and    the
CONJUGAL                PARTNERSHIP
CONSTITUTED        THEREIN,     LUIS
ENRIQUE RAMOS PITRE his spouse
GRISELDA CRESPO ARVELO and the
CONJUGAL                PARTNERSHIP
CONSTITUTED THEREIN, MIGUEL
ÁNGEL RÍOS SANTIAGO, JAIME
MACHADO ROMÁN, CARLOS LUIS
AMADOR      FERNÁNDEZ,       MIRIAM
CARRIÓN     SOTO,      ESTATE     OF
WALBERTO       NUSSA      GONZÁLEZ,
MARIBEL TORRES ENCARNACIÓN,
JOSÉ RAMÓN CINTRÓN MERCADO,
BRUNILDA      SANTIAGO       RIVERA,
ESTATE OF CONCEPCIÓN GONZÁLEZ
RIVERA, GLENDALYS GONZÁLEZ
SANTIAGO, LESTER I. GONZÁLEZ
SANTIAGO,        JOSÉ      ARNALDO
GONZÁLEZ SANTIAGO, ALEXY SOTO
ROSARIO     his    spouse   IVELISSE
VEGUILLA COLÓN and the CONJUGAL
PARTNERSHIP            CONSTITUTED
THEREIN, PEDRO JAVIER RODRÍGUEZ
QUILES his spouse WALESKA DEL
CARMEN MALDONADO RODRÍGUEZ
and the CONJUGAL PARTNERSHIP
CONSTITUTED       THEREIN,    DAVID
ALVÁREZ LOPEZ his spouse GLENNY
DÍAZ DOMINGUEZ and the CONJUGAL
PARTNERSHIP            CONSTITUTED
THEREIN, ERIC SANTIAGO HALAIS
BORGES, MURIEL RIVERA MUÑOZ,
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IVONNE       BERNARD          RIVERA,
GRACIANO VÉLEZ ALBALADEJO his
spouse  ANA     YAMILE      SERRANO
CASTRO,     and    the     CONJUGAL
PARTNERSHIP            CONSTITUTED
THEREIN,    WILLIAM       RODRÍGUEZ
OJEDA his spouse MARÍA FELICIANO
MÉNDEZ,     and    the     CONJUGAL
PARTNERSHIP            CONSTITUTED
THEREIN,     JOSÉ      A.    VARGAS
ARRATÍBEL his spouse GLORIA A.
RODRÍGUEZ     TRUJILLO,      and    the
CONJUGAL                PARTNERSHIP
CONSTITUTED      THEREIN,      MARÍA
CELIA LEBRÓN QUINTANA, ANTONIO
MUÑOZ SUÁREZ, HIRAM PEÑA
ROLDÁN his spouse OLGA PAGÁN
MALDONADO, and the CONJUGAL
PARTNERSHIP            CONSTITUTED
THEREIN,      MIGUEL        ANTONIO
CHEVERE DONES, his spouse LUZ
NEREIDA STUART DIAZ and the
CONJUGAL                PARTNERSHIP
CONSTITUTED THEREIN, MIRIAM
JANETTE MERCADO ACOSTA, MIGUEL
ANGEL MEDINA LOPEZ, his spouse IVA
YADIRA DE JESUS GARCIA, and the
CONJUGAL                PARTNERSHIP
CONSTITUTED       THEREIN,        LUIS
MANUEL FERNANDEZ VELAZQUEZ,
ANA L TOLEDO DAVILA, JULIO
ENRIQUE RIVERA NEGRON, his spouse
ELIZABETH MONTALVO MELENDEZ
and the CONJUGAL PARTNERSHIP
CONSTITUTED THEREIN, SAMUEL
LUCIANO PEREZ, his spouse MARIA
LUISA CRUZ RIVERA and the
CONJUGAL                PARTNERSHIP
CONSTITUTED THEREIN, NATHAN
CABAN GARCIA, his spouse MARIA
MAGDALENA REYES PAGAN and the
CONJUGAL                PARTNERSHIP
CONSTITUTED THEREIN, TANIA LIZ
RODRIGUEZ      GARCIA,      MARILYN
FONSECA     COTTO,      JOSE     NOEL
RODRIGUEZ ALVAREZ, MIGDALIA
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MARGARITA DE LEON VELEZ, MARIO
JOSE RIVERA COTTO his spouse
LILLYBELL OLIVO RIVERA and the
CONJUGAL             PARTNERSHIP
CONSTITUTED THEREIN, PAULA E
ESTRADA DIAZ, BENITA ORTIZ
CEBALLOS, ORLANDO DIAZ SOTO, his
spouse MERCEDES LLERA CATALA and
the     CONJUGAL     PARTNERSHIP
CONSTITUTED THEREIN, GLORIA
MARÍA TAPIA DE JESÚS, LUIS ALEXIS
MANSO ROSARIO his spouse YANIRA
SANTIAGO RIVERA and the CONJUGAL
PARTNERSHIP          CONSTITUTED
THEREIN, ELBA MIGDALIA ALICEA
ORTIZ,      MARCOS      GONZALEZ
RODRIGUEZ,     RAMON      RAFAEL
GONZALEZ PEREZ his spouse NORMA
HAIDE MARTINEZ RODRIGUEZ and the
CONJUGAL             PARTNERSHIP
CONSTITUTED      THEREIN,    JOSE
GILBERTO MALDONADO MALAVE his
spouse ZULMA IVETTE RECIO LOPEZ
and the CONJUGAL PARTNERSHIP
CONSTITUTED THEREIN, MARLEEN
RIVERA MULERO, JUAN ALEXANDER
SOTO AYBAR his spouse MIGDALIA
DIAZ PEREZ and the CONJUGAL
PARTNERSHIP          CONSTITUTED
THEREIN, MANUEL FELIPE EGIPCIACO
RUIZ his spouse BETZAIDA IRIS
PORRATA TIRADO and the CONJUGAL
PARTNERSHIP          CONSTITUTED
THEREIN, NILDA IRIS EUTSLER
DELGADO, CARLOS JOSE SARNELLI,
EZEQUIEL     ANTONIO    GONZALEZ
CARRION his spouse MADELINE
RIVERA PAGAN and the CONJUGAL
PARTNERSHIP          CONSTITUTED
THEREIN,      ABC      PLAINTIFFS,
UNKNOWN PLAINTIFFS, ON BEHALF
OF THEMSELVES AND ALL OTHERS IN
SIMILAR SITUATION.
PLAINTIFFS,

         VS
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SCOTIABANK     PUERTO       RICO,
MIDFIRST    BANK,   PR     ASSET
PORFOLIO 2013-1 INTERNATIONAL
LLC, MWPR CR LLC, COOP DE
AHORRO Y CREDITO DE CIALES,
ROOSEVELT REO PR IV CORP.,
RUSHMORE LOAN MANAGEMENT,
WM CAPITAL PARTNERS 53 LLC,
WMPRRE        LLC,        BANCO
COOPERATIVO DE PUERTO RICO,
AUTORIDAD         PARA         EL
FINANCIAMIENTO DE LA VIVIENDA
DE PUERTO RICO, ROOSEVELT REO
PR CORP., CITIMORTGAGE INC.,
ROOSEVELT REO, TAX-FREE PR
TARGET MATURITY FUND, INC; PR
MORTGAGE-BACKED, ROOSEVELT
CAYMAN ASSET COMPANY, BANK
OF AMERICA N.A., UNITED STATES
DEPARTMENT OF AGRICULTURE
RURAL DEVELOPMENT A/C/C LA
ADMINISTRACION DE HOGARES DE
AGRICULTORES, BAYVIEW LOAN
SERVICING     LLC,      FEDERAL
NATIONAL              MORTGAGE
ASSOCIATION T/C/C FANNIE MAE,
JAMES B. NUTTER & CO., LAKEVIEW
LOAN SERVICING LLC, ROOSEVELT
CAYMAN ASSET COMPANY II,
LEHMAN RE LIMITED, A BERMUDA
CORPORATION,        SANTANDER
FINANCIAL     SERVICES,       DLJ
MORTGAGE CAPITAL, U.S. BANK
NATIONAL ASSOCIATION, LIME
PROPERTIES   RESDENCIAL      LTD,
FIRST BANK, UNITED STATES OF
AMERICA (FARM SERVICE AGENCY),
UNITED STATES OF AMERICA (FARM
SERVICE AGENCY), UNITED STATES
DEPARTMENT OF AGRICULTURE
RURAL DEVELOPMENT, FEDERAL
HOME       LOAN       MORTGAGE
CORPORATION (FREDDIE MAC),
FEDERAL MORTGAGE ASSOCIATION
(FANNIE MAE), WELLS FARGO &
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 COMPANY, JAMES B. NUTTER &
 COMPANY, LIME RESIDENTIAL LTD,
 RNPM LLC, TRM LLC, LIHMAN RE
 LIMITED        A      BERMUDA
 CORPORATION, COOPERATIVA DE
 AHORRO Y CREDITO LAS PIEDRAS,
 BANCO POPULAR OF PUERTO RICO,
 BANCO SANTANDER PUERTO RICO,
 ISLAND FINANCE CORPORATION,
 SUNWEST MORTGATE COMPANY
 INC. ORIENTAL BANK PUERTO RICO,
 OPERATING PARTNERS LLC, XYZ
 INSURANCE COMPANY, UNKOWN
 DEFENDANTS,

 DEFENDANTS.



                     THIRD AMENDED CLASS ACTION COMPLAINT

       COME NOW THE PLAINTIFFS, through the undersigned attorneys, and very

respectfully STATE, ALLEGE and PRAY as follows:



                       I.      JURISDICTION AND VENUE

       1.      This Honorable Court has jurisdiction over the instant case pursuant to 28 U.S.C.

§1331, as this case arises under federal law.

       2.      This Honorable Court has jurisdiction pursuant to 28 U.S.C. § 1332(d) because

there are at least 100 Class Members in the proposed Class, the combined claims of proposed Class

Members exceed $5,000,000 exclusive of interest and costs, and at least one Class Member is a

citizen of a state other than Defendants’ state of citizenship.

       3.      Venue is proper pursuant to 28 U.S.C. § 1391(a) because a substantial part of the

events giving rise to the claims asserted herein occurred in this district, and Plaintiffs dealt with

Defendants, which are located in and/or do business in this district and/or had sufficient contacts
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with the laws and markets of Puerto Rico through the marketing, promotion and sale of mortgages

and related services, as to render exercise of jurisdiction by this Honorable court permissible.

Venue is proper pursuant to 28 U.S.C. § 1391(c) because Defendants conduct substantial business

in this District, have sufficient minimum contacts with this District, and otherwise purposely avails

themselves of the markets in this District, through the promotion, sale, and marketing of their

services in this District.

        4.      The appearing Plaintiffs also seek supplemental jurisdiction on The Constitution of

the Commonwealth of Puerto Rico and on state law claims under Law No. 169 of August 9, 2016

and Law No. 184 of August 17, 2012, and Articles 1802 and 1803 of the Commonwealth of Puerto

Rico Civil Code, Puerto Rico Laws Annotated, Title 31, Sections 5141 and 5142.

                                         II.     PARTIES

        1.      The appearing Plaintiffs are all persons in the United States of America or with real

state property in the United States of America who have continued to be kicked out of their homes

based on false documents and who have been told to stop making their mortgage payments and

thus, having their financial situation affected by Defendants’ actions. They have allegations of

misconduct in illegal, unlawful, wrongful and negligent origination and qualification, loan process

and closing, predatory lending, robo-signing, faulty paperwork, dual tracking, illegal mortgage

servicing, illegal foreclosure, among other misconduct. Also, all persons in the United States of

America or with real state property in the United States of America whose loans have been serviced

by Defendants and all related actions, who have complied with their obligation under a trial loan

modification program and have not received a permanent modification pursuant to the loan

modification agreement, who have been subjected to Loss Mitigation process at the same time that
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a foreclosure claim is been filed against them and/or have been subject to an illegal foreclosure

and harmed thereby.

       2.      The appearing Plaintiffs bring this class action on behalf of themselves and all

others in similar situation (“Class Members”). Plaintiffs have alleged and affirmed the

Defendants noncompliance and violations of The Constitution of the United States of

America Fifth and Fourteenth Amendment Due process rights and of the Commonwealth of

Puerto Rico, “Truth in Lending Act”, Regulation Z of such (TILA), Real Estate Settlement

Procedures Act, Regulation X of such (RESPA), Home Mortgage Disclosure Act, Regulation

C of such (HMDA), Home Ownership and Equity Protection Act (HOEPA), Equal Credit

Opportunity Act, Regulation B of such (ECOA), Fair and Accurate Credit Transactions

(FACT), Home Owners Protection Act (HOPA), Gramm Leach-Bliley Act (GLBA), among

others. Either the Plaintiff or the firm hired for debt collection did not comply with federal

law, to wit; Fair Credit Reporting Act, Regulation V of such, and the Fair Debt Collection

Practices Act (FDCPA). Consumer Financial Protection Bureau (CFPB), Dodd-Frank

Financial Reform Act (the “Dodd-Frank Act”). Thus, federal questions lie at the heart of

this action.

       3.      The appearing Plaintiffs bring this class action on behalf of themselves and a class

of persons (“Class Members”) who sought loan modifications to their mortgage payments through

their banks and/or mortgage loan servicers, herein included as Defendants. The appearing

Plaintiffs have experienced lengthy delays when waiting for the servicer to make a decision on

whether or not to grant a loan modiﬁcation. In some cases, the servicer doesn't tell the homeowners

that they are missing documents necessary for the loan modiﬁcation decision. In others, the

servicer simply doesn't get around to reviewing the request in a timely manner.
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       4.      At the time Plaintiffs are residents of the Commonwealth of Puerto Rico and/or the

United States of America, with real estate properties located in the Commonwealth of Puerto Rico

(hereinafter “Puerto Rico”).

       5.      Unknown Plaintiff is any person with a real estate property located in Puerto Rico

or USA and guaranteed by a mortgage loan serviced by the Defendants and that can be subject of

the allegations contained in the present claim.

       6.      ABC Plaintiff is any person with a real estate property located in Puerto Rico or

USA and guaranteed by a mortgage loan serviced by the Defendants and that can be subject of the

allegations contained in the present claim.

       7.      The named Defendants in the instant Complaint are banks and/or mortgage loan

servicers dedicated to provide mortgage loans to qualified or unqualified individuals, Mortgagee.

The mortgagee is the lender. The mortgagee gives the loan to the mortgagor. Mortgage Investor.

An investor buys loans from lenders. By purchasing mortgage loans from lenders, the mortgage

investor provides the lender with funds to use to make additional loans. Mortgage servicer.

Mortgage servicers manage loan accounts on behalf of the mortgagee or investor; with offices,

branches and subsidiaries located in Puerto Rico and/or the United States of America (hereinafter

“the United States”).

       8.      Unknown Defendants: Because the true names and capacities, whether individual,

corporate, associate or otherwise, of unknown Defendants to Plaintiffs at this time, there are

included as such in the instant Complaint. On information and belief, unknown Defendants are

responsible to Plaintiffs for the actions, acts, omission, misconduct, misrepresentation and

negligence herein alleged. Plaintiffs will amend this Class Action Complaint when the named of

said unknown Defendants have been ascertained.
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        9.          Unknown XYZ INSURANCE COMPANYs are responsible to Plaintiffs for the

actions, acts, omission, misconduct, misrepresentation and negligence herein alleged. Plaintiffs

will amend this Class Action Complaint when the named of said unknown XYZ INSURANCE

COMPANYs have been ascertained.

        10.         Plaintiffs are informed, believe and thereon allege that each and all of the

aforementioned Defendants are responsible, either by act or omission, strict liability, fraud, deceit,

fraudulent concealment, negligence, respondent superior, breach of contract or otherwise, for the

occurrences herein alleged and that Plaintiffs injuries and causes of action, as herein alleged, were

proximately cause by the conduct of Defendants.

        11.         Plaintiffs are informed, believe and thereon alleged that each and all of the

aforementioned Defendants at all material time relevant to this Complaint, performed the acts

alleged herein and/or otherwise conducted business in this district. Defendants, and each of them,

are corporations or other business entities, form unknown, have and are doing business in this

district.

        12.         Plaintiffs reserve the right to amend or modify the class action complaint to include

additional plaintiff or defendants as they have been ascertained.

             III.     BACKGROUND TO THE RESIDENTIAL MORTGAGE CRISIS

        1.          Plaintiffs repeat and re-allege every allegation above as if set forth herein in full.

        2.          Toward the end of 2007 and throughout 2008, the residential real estate market in

the United States of America collapsed, causing a tailspin that drove the economy into recession.

        3.          In response to the foreclosure crisis, the Government of the United States of

America introduced the Financial Stability Plan on February 10, 2009, to help prevent foreclosures

and restructure troubled mortgage loans.
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       4.     As part of the plan, the U.S. Treasury introduced the Home Affordable

Modification Program, which provided guidelines for mortgage servicers to adopt to modify loans

for homeowners in financial need, including the following:

              • Servicers will receive an up-front Servicer Incentive Payment of $1,000 for each

              eligible modification meeting guidelines established.

              • Any foreclosure action will be temporarily suspended during the trial period, or

              while borrowers are considered for alternative foreclosure prevention options.

              • The trial modification period will last 90 days (three payments at modified terms)

              or longer if necessary to comply with investor contractual obligations. The

              borrower must be current at the end of the trial period to obtain a Home Affordable

              Modification.

              • The servicer must inform borrowers of the availability and advantages of

              counseling and provide a list of local HUD-approved counselors and that

              counseling is a requirement of the modification terms.

              • There are no modification fees or charges borne by the borrower.

              • Unpaid late fees will be waived for the borrower. These include late fees prior to

              the start of the trial period and accrued during the period.

              • Compensation is provided to the servicer that performs the loss mitigation or

              modification activities. Upon modification following successful completion of the

              trial period, and contingent on signing the program servicer agreement, the servicer

              will receive an incentive fee of $1,000 for each eligible modification meeting

              HAMP.
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               • For loans modified while still current, the servicer will receive a Current Borrower

               One-Time Incentive of $500 following successful completion of the trial period.

               • When promoting or describing loan modifications, servicers should provide

               borrowers with information designed to help them understand the modification

               terms that are being offered and the modification process. Servicers also must

               provide borrowers with clear and understandable written information about the

               material terms, costs, and risks of the modified mortgage loan in a timely manner

               to enable borrowers to make informed decisions.

               • Servicers should have procedures and systems in place to be able to respond to

               inquiries and complaints relating to loan modifications. Servicers should ensure

               that such inquiries and complaints are provided fair consideration, and timely

               and appropriate responses and resolution.

               • Servicers will be required to maintain records of key data points for

               verification/compliance reviews.

               • Servicers will be required to collect and transmit borrower and property data in

               order to ensure compliance with the program as well as to measure its effectiveness.

               (Emphasis added.)

         5.    As in the United States, the People of Puerto Rico have been greatly affected by the

economic crisis that both the Island and the United States have been undergoing during the last

years.

         6.    The scarcity of economic resources in Puerto Rico has caused many homeowners

to lose their homes to foreclosure initiated by the banking or financial institutions holding their

property’s mortgages.
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       7.      Puerto Rico’s economic crisis has greatly affected our citizenry, who have been

deprived of their right to own a home.

       8.      Most mortgage loans include acceleration clauses and other processes that protect

any unpaid balance owed to the mortgagee.

       9.      The citizenry in general is not well aware of the technicalities and complex

processes entailed by the legal obligations incurred under a mortgage loan; therefore, it requires

further orientation with regard to such processes.

       10.     In light of the foregoing, the Administration of President Barack Obama created

the Making Home Affordable Program (MHAP) to help mortgagors to refinance or modify their

loans through two (2) programs:

               (A) Home Affordable Refinance Program (HARP):
                      Provides refinancing at lower interest rates to homeowners whose loans are
                      guaranteed by Fannie Mae or Freddie Mac, including those who owe more
                      than what their home is actually worth.
               (B) Home Affordable Modification Program (HAMP):
                      Provides mortgagors with incentives to modify their loans by reducing their
                      loan’s interest rate, extending their loan’s term, or lowering their mortgage
                      payments up to 35% of their gross income.
       11.     The United States Congress enacted legislation in order to require mortgagors of

loans with Federal guarantees to submit to a mandatory mediation process, before the mortgagee

initiates a foreclosure proceeding.

       12.     Just as the Federal Government, the Commonwealth Government sought

alternatives to reduce the number of foreclosure proceedings and prevent, to the extent possible,

our citizens from losing their properties.

       13.     In Puerto Rico, pursuant to Law No. 184 of 2012, a foreclosure mandatory
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mediation process to be held in the courts of justice or the appropriate administrative forums

before a foreclosure proceeding against a principal residential property in the Commonwealth of

Puerto Rico is initiated by any banking institution and/or loan mortgage servicer.

       14.     As per the Constitution of the Commonwealth of Puerto Rico state:

          Article 6 - General

          Provisions Section 14

          Section 14. Land tenure by corporations.

          No corporation will be authorized to conduct real estate purchase and sale
          business; nor shall he be allowed to possess or have such a class of assets
          except for those that were rationally necessary in order to carry out the
          purposes to which his creation obeyed; and the ownership and management of
          lands of any corporation authorized to engage in agriculture shall be limited,
          by its charter, to an amount not exceeding five hundred acres; and this
          provision shall be understood as preventing any member of an agricultural
          corporation having an interest of any kind in another corporation of the same
          nature.

          However, corporations may make loans with real estate guarantees and acquire
          them when necessary for the collection of loans; but they must have said real
          estate thus obtained within five years of having received the property title of
          the same.

          Corporations that have not organized in Puerto Rico, but do business in Puerto
          Rico, will be obligated to comply with the provisions of this section, to the
          extent applicable.


                                IV.   NATURE OF THE ACTION

     A. MATERIAL FACTS COMMON TO ALL CAUSES OF ACTION

1.     Plaintiffs repeat and re-allege every allegation above as if set forth herein in full.


2.     The Defendants stands in for the beneficial owner of a mortgage loan in virtually dealing

with homeowners. It is the defendants to whom the homeowners mail their monthly payments and
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the servicer to whom the homeowner in distress must address for a loan modification and/or

postponement of a foreclosure sale.

3.      The Defendants have a strong incentive to pursue foreclosures since defendants’ main

source of income is a monthly servicing fee based on a percentage of the outstanding principal

balance of a loan. Therefore, they generate more income from foreclosures than by modifying a

loan.

4.      Late fees and other “default managing fees”, such as property inspections, are a large

source of income for defendants, as they retain these fees when they are paid by delinquent

homeowners. The profitability of this fess can be significant and if the homeowner does not pay

them, they can be recovered from the proceeds of foreclosure sales, as well as insurance, property

inspections, appraisals, title searches and legal services.

5.      Dual tracking occurs when banks and servicers process both a foreclosure and a loan

modification application for the same borrower at the same time. Short-term repayment plans, such

as trial modifications, are very attractive to banks and servicers. The incentives previously

discussed encourage bankers and servicers to incur in unlawful dual tracking practices, as their

primary goal is foreclosure and not permanent loan modifications.

6.      Defendants process foreclosures and loan modifications through different departments and

the communication between them are ineffective. Plaintiffs are lure to sleep since they are assured

that they will be receiving a loan modification by one department while facing a foreclosure

proceeding. Therefore, foreclosure usually occur while homeowners are in a loss mitigation

program negotiating a loan modification, and sometimes, even after they have been approved for

a loan modification. These have resulted in unnecessary and illegal foreclosures, practice known

as dual-tracking.
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7.     Also, defendants imposed improper late fees on a struggling homeowner who are trying to

get a loan modification making foreclosures more likely by increasing the total amount owed to

the lender and therefore, increasing the monthly payment amounts in a potential loan modification.

8.     The appearing Plaintiffs have experienced lengthy delays when waiting for the servicer to

make a decision on whether or not to grant a loan modiﬁcation. In some cases, the servicer doesn't

tell the homeowners that they are missing documents necessary for the loan modiﬁcation decision.

In others, the servicer simply doesn't get around to reviewing the request in a timely manner.

9.     Plaintiffs reserve the right to amend or modify the class action complaint to include

additional material facts as they have been ascertained.

     B. CLASS ACTION ALLEGATIONS

1.     Plaintiffs repeat and re-allege every allegation above as if set forth herein in full.


2.     Plaintiffs bring this class action on behalf of themselves and a class of persons (“Class

Members”) who have been subject to illegal foreclosures and/or sought modifications to their

mortgage payments through their mortgage servicers, and/or Defendants.

3.     Plaintiffs contacted Defendants to reduce the loan payments on theirs loans due to various

personal situations, to wit: health problems, spouse and/or relative’s health problems, reduction in

hours at their jobs and/or loss of their job, among other justified reasons. The Defendants and/or

their mortgage servicers represented they would help by submitting Plaintiffs to their loss

mitigation process, putting Plaintiffs in a trial mortgage modification program that would become

permanent if Plaintiffs made reduced payments during the three-month trial period and/or simply

negating Plaintiffs of their right to be qualified for a loan modification under HARP and HAMP

programs.
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4.     Despite Plaintiffs’ efforts in Defendants’ loan mitigation programs and complying with

Defendant’s requests for various documentation, Plaintiffs found themselves hounded by

Defendants a few months later for a delinquency, their credit-worthiness ruined, and rejected for

permanent loan modification.

5.     In order for Plaintiffs to qualified for Defendant’s loan mitigation programs, Plaintiffs were

required by Defendants to be behind three (3) months in their mortgage payments and thus, having

their credit affected by Defendants’ requirements.

6.     Defendants, in clear violation of applicable laws and regulations refuse to accept Plaintiffs

partial payments to the mortgage loans.

7.     Plaintiffs’ story is typical. Defendants did not live up to its promises of providing borrowers

with reduced loan payments and/or simply submit Plaintiffs to a lengthy Loss Mitigation Process

with no result and at the same time filing a foreclosure claim against them. This constitutes dual

tracking and is prohibited by law. Moreover, Plaintiffs emerged from the trial modification in

worse shape than they entered it, despite doing everything the Defendants requested of them.

8.     As previously stated, when Plaintiffs began having trouble making their regular loan

payments, they contacted the Defendants to find out if they were eligible to enter the widely-

advertised modification programs. The main lure of the HAMP and other Defendants hardship

assistance plans to consumers is the stay of foreclosure proceedings and the promise of smaller

loan payments.

9.     Plaintiffs were misinformed by the Defendants that they couldn’t get a loan modification

unless they were behind (“late”) in their payments.
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10.     Defendants required Plaintiffs to submit and then resubmit information and documentation

when applying for a loan modification. This documentation was routinely lost and/or misplace by

Defendants.

11.     Pursuant to their agreement with Defendants, Plaintiffs and Class Members fulfilled their

obligations by submitting the requested paperwork and timely making the modified payments

during the trial period, when applicable.

12.     Plaintiffs that were rejected from permanent modification plans through no fault of their

own should not found themselves in no worse position than they entered it. Instead, Defendant’s

failure to honor its agreements and its misrepresentations and omissions about a program enacted

to help homeowners reduce their payments and keep their homes have left Plaintiffs and Class

Members financially and emotionally devastated.

13.     Plaintiffs were misled by Defendants for (1) they were told that they needed to stop

mortgage payments to be behind on their payments to qualify for a loan modification; (2)

Defendants refused to accept their partial payments; (3) that a modification would resolve the

foreclosure; (4) they not received the proper notification (5) that they did not need to appear at

Court in the foreclosure proceedings and (6) they were eventually denied the loan modification

only to find out that the Court granted default judgment in favor of the Bank in the foreclosure

proceedings. Defendants lured Plaintiffs to sleep until a default judgment was rendered against

Plaintiffs because of the misleading and misrepresentations of the Defendants.

14.     Defendants lured Plaintiffs to sleep until a default judgment was rendered against Plaintiffs

because of the misleading and misrepresentations of the Defendants.

15.     Defendants’ failure to discharge their required loan modification obligations, and related

unfair and deceptive practices, include, but are not limited to, the following: (a) failing to establish
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adequate processes for loan modifications; (b) allowing the Plaintiffs to stay in trial modifications

for excessive time periods; (c) wrongfully denying modification applications; (d) providing false

or misleading information to Plaintiffs while referring their loan to foreclosure during the loan

modification application process; (e) providing false or misleading information to Plaintiffs while

initiating foreclosures where the Plaintiffs were in good faith actively pursuing a loss mitigation

alternative offered by the Defendants; (f) misrepresenting to the Plaintiffs that loss mitigation

programs would provide relief from the initiation of foreclosure or further foreclosure efforts; (g)

failing to provide accurate and timely information to Plaintiffs who are in need of, and eligible for,

loss mitigation services, including loan modifications; (h) misrepresenting to the Plaintiffs to stop

making their mortgage payments; (i) falsely advising Plaintiffs that they must be at least 90 days

delinquent in loan payments to qualify for a loan modification; (j) the Defendants failed to act on

the Plaintiffs’ loan modification in a timely manner; (k) failing to properly process Plaintiffs’

applications for loan modifications, including failing to account for documents submitted by them;

(l) denying acceptance of partial payments; (m) failing to respond to Plaintiffs’ reasonable requests

for information and assistance; (n) failing to comply with their duty to respond to Plaintiff’s

qualified written requests (QWR’s) that Plaintiffs submitted and (o) misrepresenting to the

Plaintiffs that loss mitigation programs would not provide relief including a reduction in the

principal amount of the loan to fair market value.

16.    The Defendants in this case, are prohibited from engaging in unfair or deceptive practices

with respect to consumers. Federal laws and programs, among the Home Affordable Modification

Program (hereinafter “HAMP”), establish requirements to be followed in the foreclosure of single

family residential mortgage, like the one in controversy. Said requirements were not followed by

the appearing Defendants.
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17.     Plaintiffs continue to be kicked out of their homes based on false documents. They have

allegations of misconduct in illegal, unlawful, wrongful and negligent origination and

qualification, predatory lending, robo-signing, faulty paperwork, dual-tracking and illegal

mortgage servicing didn’t end the misconduct.

18.     The Defendants failed to provide a Truth in Lending disclosure as required by Section

1026.17, General disclosure requirements. The bank's failure to provide the required disclosure

resulted in 23 violations of TILA due to 23 items that must be disclosed as required by

aforementioned section and this constitute material violations of TILA. The material disclosures

are those defined in section 1026.23(a)(3)h which includes the APR, the finance charge, the

amount financed, the total of payments, the payment schedule, and the disclosures and limitations

referred to in section 1026.32(c) and (d) and 1026.43(g). The bank’s failure to provide material

disclosure triggers the consumer’s rights.

19.     Defendants failed to comply with their duty to respond to Plaintiff’s qualified written

requests (QWR's) which Plaintiffs filed.

20.     Plaintiffs reserve the right to amend or modify the class action complaint to include

additional allegations as they have been ascertained.

     C. CLASS ALLEGATIONS AND REQUEST FOR CLASS CERTIFICATION

1.      Plaintiffs repeat and re-allege every allegation above as if set forth herein in full.


2.      Plaintiffs bring this action on behalf of themselves and all others similarly situated as a

Class Action pursuant to Rule 23 of the Federal Rules of Civil Procedure.

3.      Plaintiffs seek certification of the following Class:

                All persons in the United States of America or with real state property in
              the United States of America who have continued to be kicked out of their
              homes based on false documents and who have been told to stop making
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              their mortgage payments and thus, having their financial situation affected
              by Defendants’ actions. They have allegations of misconduct in illegal,
              unlawful, wrongful and negligent origination and qualification, loan process
              and closing, predatory lending, robo-signing, faulty paperwork, dual
              tracking, illegal mortgage servicing, illegal foreclosure, among other
              misconduct. Also, all persons in the United States of America or with real
              state property in the United States of America whose loans have been
              serviced by Defendants and all related actions, who have complied with
              their obligation under a trial loan modification program and have not
              received a permanent modification pursuant to the loan modification
              agreement, who have been subjected to Loss Mitigation process at the same
              time that a foreclosure claim is been filed against them and/or have been
              subject to an illegal foreclosure and harmed thereby.


4.      Plaintiffs reserve the right to amend or modify the class or to create a subclass limited to

particular issues.

5.      Plaintiffs and the members of the Class are so numerous that joinder of all members

individually, in one action or otherwise, is impractical.

6.      The instant action involves questions of law and fact common to Plaintiffs and all members

of the Class, including, without limitation:

                (a)    Whether Defendants breached its contracts and promises with Plaintiffs and

                       the Class Members and their obligations under the HAMP, HARP and other

                       loan modification programs;

                (b)    Whether Defendants breached the implied covenant of good faith and fair

                       dealing; (permanent modifications to Class Members);

                (c)    Whether Defendants improperly recorded an/or caused to be recorded

                       Notices of Default, Notices of Sale, and/or Deed Upon Sale;

                (d)    Whether Defendants illegally charged homeowners late fees;

                (e)    Whether Defendants’ conduct was willful or reckless;
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     (f)   Whether Defendants violated Puerto Rico’s Principal Residence Protection

           and Mandatory Mediation in Foreclosure Proceedings Act; Law 184;

     (g)   Whether Defendants engaged in practices that warrant equitable, injunctive,

           and monetary relief; and,

     (h)   Whether Plaintiffs and Class Members sustained damages resulting from

           Defendants’ conduct and, if so, the proper measure of damages, restitution,

           equitable or other relief, and the amount and nature of such relief.

     (i)   Whether Defendants violated Constitution of the United States of America,

           Fifth and Fourteenth Amendment Due Process Rights, Truth In Lending

           Act”, Regulation Z of such (TILA), Real Estate Settlement Procedures Act,

           Regulation X of such (RESPA), Home Mortgage Disclosure Act,

           Regulation C of such (HMDA), Home Ownership And Equity Protection

           Act (HOEPA), Equal Credit Opportunity Act, Regulation B of such

           (ECOA), Fair And Accurate Credit Transactions (FACT), Home Owners

           Protection Act (HOPA), Gramm Leach-Bliley Act (GLBA), among others,

           either the Defendants or the firm hired for Debt Collection did not comply

           with federal law, to wit: Fair Credit Reporting Act, Regulation V of such,

           and the Fair Debt Collection Practices Act (FDCPA), Consumer Financial

           Protection Bureau (CFPB), Qualified Written Requests (QWR's), Secure

           And Fair Enforcement For Mortgage Licensing Act (“SAFE ACT”),

           DODD-FRANK Financial Reform Act (THE “DODD-FRANK ACT”),

           HARP, HAMP.
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7.      Plaintiffs’ claims are typical of the claims of the members or each of the class they seek to

represent. Plaintiffs and all members of the Class sustained injuries and damages arising of

Defendants’ common course of conduct in violation of law as complained of herein. The injuries

and damages of each member of the Class were caused directly by Defendants’ wrongful conduct

in violation of law as alleged herein.

8.      Plaintiffs understand and are willing to undertake the responsibilities of acting in a

representative capacity on behalf of the proposed Class. Plaintiffs will fairly and adequately protect

the interests of the Class and have no interests adverse to or that directly conflict with the interests

of the other members of the Class.

9.      This action is brought under Rule 23 because Defendant has acted on grounds generally

applicable to all members of the Class.

10.     Judicial determination of the common legal and factual issues essential to this case would

be far more efficient and economical as a class action than piecemeal individual determinations.

Individualized litigation would also present potential for inconsistent contradictory judgments.

11.     Plaintiffs know of no difficulty that will be encountered in the management of this litigation

that would preclude its maintenance as a class action.

12.     Plaintiffs reserve the right to amend or modify the class action complaint to include

additional class allegations or to create a subclass limited to particular issues as they have been

ascertained.

                                         V.   CAUSES OF ACTION

        A. Allegation on Breach of Contract, Dual Tracking and Constitution of the United

            States of America Fifth and Fourteenth Amendment Due process rights.

1.      Plaintiffs incorporate the above allegations by reference as though fully set forth herein.
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2.        Plaintiffs held a mortgage serviced through Defendants.

3.        Plaintiffs sought to modify their monthly payments based on Defendant’s participation in

the HAMP or another loan modification program. Plaintiffs provided all the necessary

documentation requested by Defendant in a timely manner in order to participate in a modification

program.

4.        Defendant informed Plaintiffs that they could begin the trial modification period and make

modified interest payments immediately, without disclosing the possibility of negative

consequences to their mortgage payment history, and under the expectation that they would receive

a permanent modification under the HAMP or other loan modification program thereafter and/or

submitted Plaintiffs to a Loss Mitigation Program to later denied them a loan Modification.

5.        While Plaintiffs were in the Loss Mitigation Program Defendants filed foreclosure

complaints against them, this constitutes Dual Tracking and it’s prohibited by law.

6.        Defendants denied Plaintiffs of their right to be qualified for a Loss Mitigation program.

7.        Plaintiffs agreed to Defendant’s offer and made the modified payments based on

Defendant’s representations about the trial modification agreements, keeping all information and

representations true and accurate in all material respects, and by taking all such other steps

necessary, or are excused from performance because of Defendant’s non-performance as alleged

herein.

8.        Defendants accepted Plaintiffs’ modified offer of reduced payments throughout the trial

period.

9.        Plaintiffs’ modified payments during the trial period constitute consideration and by

making those payments Plaintiffs gave up their ability to pursue other alternatives to prevent

default of their mortgage payments and foreclosures.
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10.    Plaintiffs and Defendants therefore formed a valid contract concerning the modification of

their mortgage payments.

11.    Defendant did not perform in accordance with the contract terms regarding the trial

modification period, and in fact, Defendants intentionally and systematically delayed converting

the trial modifications into permanent modifications and instead demanded additional

documentation already sent and failed to implement as required under the loan modification

programs adequate procedures and systems to respond to customer’s inquiries and complaints.

12.    Instead of fulfilling their obligations under the contracts formed with Plaintiffs, Defendants

rejected Plaintiffs from the trial modification period, thereby nullifying and voiding their trial

modification agreements, and demanded payments, late and default fees.

13.    Even if Defendants did not breach an express term of the trial modification period

agreement, it breached an implied term that required it to extend offers for permanent

modifications within a reasonable time period following Plaintiffs’ performance under the trial

modification agreements. At the very least Defendants should not penalize them for their

compliance with the modified payments with exorbitant payments and charging them late and

delinquency fees, and reporting them to credit bureaus as in default -- all of which placed Plaintiffs

in a materially worse position than before entering the contract with Defendants. Plaintiffs remain

ready, willing and able to perform under the contracts by continuing to make their modified

payments.

14.    As a direct and proximate result of Defendants’ breach of these material terms that they

falsely and misleading represented, Plaintiffs and the class members did not receive the benefit of

their bargain and were damaged and are threatened with additional harm, in an amount to be

determined at trial.
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15.    As a direct and proximate result of Defendants’ aforementioned violations, Plaintiffs and

the class members have been harmed in the following ways: loss of homes; loss of home equity,

relocation costs; loss of opportunity to avoid foreclosure, damage to financial reputation and the

financial credit, and emotional toll of defending against foreclosures.

16.    While Plaintiffs were in the Loss Mitigation Program, Defendants, during the foreclosure

proceeding in state court filed them without due and proper notification to Plaintiffs

(homeowners), submitting false sworn statement of the summons servers. Therefore, Plaintiffs

were never notified of said foreclosure proceedings until the foreclosure of the property in clear

violation of the due process of law which constitutes a taking in violation of the Constitution of

the United States of America Fifth and Fourteenth Amendment Due process rights and of the

Commonwealth of Puerto Rico.

17.    The named Plaintiffs bring this claim on their own behalf and on behalf of each member

of the class members.

18.    Defendants’ conduct as set forth herein constitutes the offering, advertising and sale of

goods, services and merchandise.

19.    Defendants’ conduct as set forth herein occurred in the course of trade or commerce.

20.    Defendants’ conduct as set forth herein affects the public interest and is part of a

generalized course of conduct affecting numerous consumers. Plaintiffs are consumers.

21.    Plaintiffs sought to obtain Defendants’ goods and services primarily for personal, family

or household use.

 22.   Defendants’ made false, deceptive and misleading statements and omissions about material

 aspects of the goods and services described herein.
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23.   Defendants’ made these statements and omissions knowingly and willfully and with the

intent that Plaintiffs and consumers would rely on them and would enter into contracts or

obligations as a result.

24.   Defendants’ conduct was likely to induce reliance and to create confusion and

misunderstanding.

25.   Plaintiffs did rely on Defendants’ statements and omissions.

26.   Defendants’ conduct as set forth herein is deceptive, unfair and unconscionable.

27.   Defendants’ conduct as set forth herein is not required, permitted or authorized by any

federal law.

28.   Defendants’ conduct as set forth herein violates established public policy, and the harms

caused to consumers greatly outweighs any benefits associated with that conduct.

29.   Defendants’ conduct as set forth herein proximately caused injury in fact to the business or

property of Plaintiffs.

30.   As a result of Defendants’ conduct, Plaintiffs suffered damages and ascertainable losses

including:

        a.      wrongful foreclosures;

        b.      otherwise avoidable losses of homes to foreclosure;

        c.      less favorable loan modifications;

        d.      increased fees and other costs to avoid or attempt to avoid foreclosure;

        e.      loss of savings in fruitless attempts to secure loan modifications;

        f.      loss of opportunities to pursue other refinancing or loss mitigation strategies;

        g.      significant stress and emotional distress;

        h.      accrued interest and increased principal balances; and
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         i.      less favorable modification terms.

31.     Defendants’ conduct intimidated Plaintiffs telling them that the “loss mitigation” is

available only if they resign this Class Action Complaint.

32.     Plaintiffs reserve the right to amend or modify the class action complaint to include

additional class allegations causes of action as they have been ascertained.

33.     Plaintiffs are entitled to actual, statutory and exemplary damages, restitution, an

accounting, attorneys’ fees and costs, equitable relief and all other relief as provided by law.

        B. Allegation on ROBO Signing

1.      Plaintiffs repeat and re-allege every allegation above as if set forth herein in full.

2.      In violation of Plaintiffs’ rights, Defendants failed with the Law because a lender cannot

initiate a foreclosure proceeding under Puerto Rico Law immediately, they have to wait for the

120-day delinquency term to expire and by Federal and Local Law the lender or servicer have to

give the debtor the chance to go through the Loss Mitigation process, before foreclosing their

home.

3.      In violation of Plaintiffs’ rights, Defendants failed to give them the chance to cure the

arrears and/or the opportunity to submit themselves to Loss mitigation, offered her a Loan

Modification, Short Sale, Reinstatement or Repaying plan.

4.      Defendants began foreclosure proceedings against the Plaintiffs even when the Plaintiffs

were not in arrears. In those cases, the Plaintiffs were prevented from continuing to pay their

mortgages and even, threatened, harassed and/or evicted the Plaintiffs form their homes. These

actions are against the law.

5.      All this harassment still continues and is taking a toll in the Plaintiffs physical and mental

health. During all this time the Defendants, their servicers and their personal have been harassing
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and sometimes, verbally abusing the Plaintiffs, tried to force them to sign agreements in order to

evade their responsibility and negate their wrong doing.

6.     In violation of Plaintiffs’ rights, Defendants failed with the Law because in judicial

foreclosure states, like in Puerto Rico, the foreclosure process requires the lending institution to

authorize (via submission of verified documents and written statements signed under affidavit by

a bank official) the fact that the homeowner has defaulted on a mortgage the lender owns. The

purpose of this process is to restrict the possession of houses by the bank in case a bank is not able

to prove the ownership of a particular mortgage or if the homeowner has not defaulted to the level

laid out in the foreclosure papers.

7.     Defendants regularly used false affidavits that had been signed by bank officials without

the required review and verification of documents. The term ‘robosigner’ emerged as a result of

the fact that banks were speedily approving numerous foreclosure documents without true

knowledge. As a result, many homes were forced into improper foreclosure.

8.     Plaintiffs request this Honorable Court to take judicial knowledge that it is a fact that in

2012, Wells Fargo (along with other financial institutions) reached a settlement for $25 billion for

charges of faulty documents and other negligent foreclosure practices.

9.     In the instant case, Defendants initiated a foreclosure against the Plaintiff without the

required review and verification of documents.

10.    Defendants regularly used false documents digitally signed, and digitally notarized. So the

computer appeared personally before the other computer.

11.    Defendants regularly used false documents signed as an officer of Defendants. All of the

signatures are different. Defendants regularly used false documents to speed up a Marshal’s sale,

Defendants robo-signer still works and forecloses on people for a living.
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12.    Plaintiffs reserve the right to amend or modify the class action complaint to include

additional causes of action as they have been ascertained.

       C.      Allegation on Predatory Lending

1.     Plaintiffs repeat and re-allege every allegation above as if set forth herein in full.

2.     Plaintiffs allege that during the origination of the loans Defendants requested false

documents to sustain income that was inexistent, such as false financial statements, false partial

jobs certifications, false letters of family donations, among others, in order to be qualified to

obtain a mortgage loan.

3.     The economic and financial crisis stemmed from the subprime mortgage crisis, which was

mostly caused by movement of creditors and mortgage originators away from traditional

underwriting practices during the real estate boom, giving rise to risky mortgages and practices,

such as allowing loans with “negative amortization” features, and to the proliferation of subprime

mortgages.

4.     In an effort to prevent a recurrence of such misleading practices, Congress passed

comprehensive mortgage reform legislation beginning in 2007 including the Secure and Fair

Enforcement for Mortgage Licensing Act of 2008 (12 U.S.C. 5101 et seq., “SAFE Act”). The

Mortgage Act continues these legislative efforts by amending provisions of the Truth in Lending

Act (15 U.S.C. 1601 et seq., “TILA”) in order to reform consumer mortgage practices and provide

accountability for such practices.

5.     Plaintiffs reserve the right to amend or modify the class action complaint to include

additional causes of action as they have been ascertained.

       D.    Allegation on Qualified written requests (QWR's)

1.     Plaintiffs repeat and re-allege every allegation above as if set forth herein in full.
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2.     Defendants failed to provide Plaintiffs with information about the nature and costs of

mortgage debt.

3.     Defendants failed to comply with their duty to respond to Plaintiff’s qualified written

requests (QWR's) which Plaintiffs filed.

4.     Plaintiffs reserve the right to amend or modify the class action complaint to include

additional causes of action as they have been ascertained.

       E.        Allegation on Violation of the Equal Credit Opportunity Act

1.     Plaintiffs repeat and re-allege every allegation above as if set forth herein in full.

2.     The "Making Home Affordable Program Request for Modification and Affidavit"

completed by the Plaintiffs and each putative class member was a completed application for credit.

In each instance, the Plaintiffs were asking Defendants to obtain more favorable credit terms.

3.     At all times relevant hereto, it was Defendants’ practice or policy not to send timely notice

letters to consumers when it denied their applications as alleged.

4.     Defendants also failed to provide the statutory disclosures required by the ECOA to

Plaintiffs and the class members as required under the ECOA.

5.     The above-alleged actions and omissions of Defendants violated the ECOA, 15 U.S.C. §

1691 et seq. and Regulation B, 12 C.F.R. § 202.9. The Plaintiffs and the putative class are entitled

to attorney's fees and costs pursuant to 15 U.S.C. § 1691e(d).

6.     Further, the above-alleged actions and omissions of Defendants entitle the Plaintiffs and

the putative class to actual and punitive damages pursuant to 15 U.S.C. § 1691e (a) and (b).

7.     The Plaintiffs and the putative class are entitled to declaratory and injunctive relief

requiring Defendants’ compliance with the ECOA pursuant to 15 U.S.C. § 1691e.
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8.      Plaintiffs reserve the right to amend or modify the class action complaint to include

additional causes of action as they have been ascertained.

        VI.     REMEDIES UNDER APPLICABLE LAWS AND REGULATIONS

 A.     “Real State Settlement Procedures Act" (hereinafter “RESPA”) and Regulation X of the

        "Consumer Financial Protection Bureau”

1.      The United States Congress approved the "Dodd-Frank Wall Street Reform and Consumer

Protection Act," PL 111-203, 12 U.S.C. § 5301, et seq., In order, inter alia, to promote the financial

stability of the United States by fostering accountability and transparency of the financial system.

To this end, the Consumer Financial Protection Bureau (hereinafter "CFPB") was created, a federal

agency that was delegated the authority to regulate everything related to consumer protection in

the financial sector.

2.      As part of the general authority delegated to the CPFB, that agency would be in charge of

regulating, supervising and enforcing the provisions of the "Real Estate Settlement Procedures

Act", known as RESPA. RESPA imposes on mortgage creditors and mortgage servants the duty

to provide debtors with information about the nature and costs of mortgage debt and also imposes

the duty to respond to qualified written requests (QWR's) which the debtors may file.

3.      The CFPB proposed a number of amendments to Regulation X, including that for the first

time some rules relating to the process of "loss mitigation" or mitigation of losses of mortgage

debtors. On the proposal Section 1024.41, the CFPB explained the following. We emphasize what

is pertinent to this case:

      "[T]here has been widespread concern among mortgage market participants, consumer
      advocates, and policymakers regarding servicers' performance of the mitigation activity
      in connection with the mortgage market crisis. In response, servicers, investors,
      guarantors, and State and Federal regulators have undertaken efforts to adjust servicer
      loss mitigation and foreclosure practices to address problems relating to the evaluation
      of mitigation options.
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      [...]
      The Bureau has considered a number of different options for addressing consumer harms
      relating to loss mitigation. [...]
      At the outset, it is worth noting that the Bureau's goal is not to achieve any particular
      target with respect to the number or speed of foreclosures. The Bureau's goal is rather to
      ensure that borrowers are protected from harm in connection with the process of
      evaluating the borrower for a mitigation option and proceeding to foreclosure. For
      instance, a borrower should not be misled about the options available to the borrower or
      the steps necessary to seek evaluation for those options. Further, servicers should review
      complete mitigation applications and make appropriate decisions with respect to those
      submissions.
      [...]
      By establishing appropriate mitigation procedures, the Bureau can ensure that borrowers
      receive information about the mitigation options available to them and the process for
      applying those options. Further, borrowers should be protected by ensuring that
      borrowers receive an evaluation for which they may be eligible, have an opportunity to
      appeal decisions by the servicer regarding loan modification options, and are protected
      from foreclosure until the process of evaluating the borrower's complete Loss mitigation
      application has ended.
      [...]
      Accordingly, proposed § 1024.41 requires servicers that make mitigation options
      available to borrowers in the ordinary course of business to undertake certain duties in
      connection with the evaluation of borrower applications for loss mitigation options.
      Proposed § 1024.41 is designed to achieve three main goals: First, proposed § 1024.41
      provides protections to borrowers to ensure that, to the extent a servicer offers loss
      mitigation options, borrowers will receive timely information about how to apply and
      that the complete application will be Evaluated in a timely manner. Second, proposed §
      1024.41 prohibits a servicer from proceeding with the end of the foreclosure process -
      that is, the scheduled foreclosure sale- until a borrower and a servicer have terminated
      orders regarding loss mitigation options. Third, proposed § 1024.41 sets timelines that
      are designed to be completed without requiring a foreclosure suspension date to avoid
      strategic use of these procedures to extend foreclosure timelines and delay investor
      recovery through foreclosure. 77 Fed. Reg. 57200, p. 57265-57267. (Emphasis supplied).

4.     The final regulations on "Loss mitigation", contained in 12 C.F.R. § 1024.41, entered into

force on January 10, 2014 and regulates in detail the presentation and evaluation of loss mitigation

requests. In order for a mortgagee or mortgagees to be able to evaluate a loss mitigation request,

it must be complete ("complete loss mitigation application"). And, as the statute indicates, if the

debtor has not submitted a complete application within thirty-seven (37) days prior to the date of
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the sale at public auction, the mortgagee would have no obligation to consider it under this

regulation.

5.     This new regulation also provides that when a debtor files an incomplete loss mitigation

request, the mortgagee must notify the debtor, within a period of five days, whether the application

is complete or incomplete. 12 C.F.R. § 1024.41 (b) (2) (i) (B). In those cases in which the lack of

documents necessary to evaluate the application is notified, the new rules provide that, if the debtor

submits all documents requested, the application must be considered "facially complete". In such

a situation, if the creditor then discovers the need for additional information or corrections to

documents previously submitted to complete the application, the creditor must: (1) require the

debtor to provide missing information or documents with relevant corrections; (2) treat the

application as if it were completed until the borrower has been given a reasonable opportunity to

complete the application. 12 C.F.R. §. 1024.41 (c) (2) (iv). In addition, this recent regulation

provides that if the creditor or mortgage agent denies the loss mitigation request, he must notify

him in writing with the specific reasons for the denial. 12 C.F.R. § 1024.41 (d).

6.     However, it is necessary to note that "[n]othing in § 1024.41 imposes a duty on a servicer

to provide any borrower with any specific mitigation option". 12 C.F.R. § 1024.41 (a). (Emphasis

supplied). Section 1024.41 on Mitigation of Losses of Regulation X only provides the debtor with

an action for damages against the creditor or mortgage agent who has violated it. 12 U.S.C. § 2605

(f).

7.     After a thorough analysis of the set of provisions governing the "Loss Mitigation"

procedure, it is necessary to conclude that if the Plaintiffs were to comply with all the requirements

outlined in Regulation X and RESPA, the Defendants would be placed, not only in the legal

obligation to consider the Plaintiffs’ request for loss mitigation, but also, if the Defendants refused
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to comply with the protocol, appearing would be in their full right to initiate the corresponding

claim action for damages.

8.     Therefore, we respectfully understand that the pattern of evasion by the Defendants to

provide the Plaintiffs with the protection that the state and federal law protect, have no place in

our system of law, since they pursue the sole purpose of evading their responsibility as creditors

to the detriment of the right of the appearing Plaintiffs to protect their property under the current

legal order.

9.     We humbly consider that the evasion by the Defendants of its liability is detrimental to the

economic situation of the Plaintiffs, since the uncertainty it is experiencing prevents it from

establishing a short-term and long-term financial plan. In turn, offer the Defendants’ institution the

opportunity to collect the debt in question. That is why we request from this Honorable Court to

grant the conclusion of an Evidentiary View in order to evaluate in detail the qualification of those

appearing for the benefits of the aforementioned federal regulations.

10.    Therefore, we understand that this Honorable Court, responding to the call of justice in a

relatively new scenario, must conclude that the acts carried out by the Defendants with respect to

the controversy of epigraph have consisted in a systematic neglect for the sake of to circumvent a

mechanism created by legislative will with the intention of safeguarding the right of the Plaintiffs

to preserve their property.

11.    Plaintiffs reserve the right to amend or modify the class action complaint to include

additional remedies as they have been ascertained.

       B. The Home Affordable Modification Program (“HAMP”)

       1.      The Home Affordable Modification Program (HAMP) is designed to help

financially struggling homeowners avoid foreclosure by modifying loans to a level that is
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affordable for borrowers now and sustainable over the long term. The program provides clear and

consistent loan modification guidelines that the entire mortgage industry can use. The Home

Affordable Modification Program includes incentives for borrowers, servicers and investors and

has two primary components.

       2.      HAMP requires any servicer of a loan guaranteed or owned by a government-

sponsored entity or insured or guaranteed by a government agency to comply with HAMP’s

Supplemental Directives and Guidelines (HAMP’s Guidelines). Among other things HAMP’s

Guidelines require institutions to review defaulting loans for modification eligibility prior to

proceeding with foreclosure actions.

       3.      Plaintiffs reserve the right to amend or modify the class action complaint to include

additional remedies as they have been ascertained.

       C. The Home Affordable Refinance Program (“HARP”)

       1.      The Home Affordable Refinance Program (“HARP”) was created by the Federal

Housing Finance Agency specifically to help homeowners who are current on their mortgage

payments, but have little to no equity in their homes, refinance their mortgage - that is, they owe as

much or more than their homes are currently worth - are eligible for a HARP refinance. 2. 2.

       Plaintiffs reserve the right to amend or modify the class action complaint to include

additional remedies as they have been ascertained.

     D. Puerto Rico Law No. 184 of August 17, 2012

       1.      The “Principal Residence Protection and Mandatory Mediation in Foreclosure

Proceedings Act”, Puerto Rico Law No. 184 of August 17, 2012 (“P.R. Law No. 184”) creates a

mandatory mediation process between mortgagors and mortgagees into foreclosure processes of

residential properties in Puerto Rico.
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 2.      In the Statement of Motives of P.R. Law No. 184, it is stated the following:

“The People of Puerto Rico have been greatly affected by the economic crisis that both
the Island and the United States have been undergoing during the last years.
The scarcity of economic resources in Puerto Rico has caused many homeowners to
lose their homes to foreclosure initiated by the banking or financial institutions holding
their property’s mortgages.

In the United States, it is estimated that over nine million Americans will lose their
homes to foreclosure within the next four years.

Goldman Sachs Group, one of the world’s largest investment firms, estimates that, by
2014, foreclosure cases could exceed thirteen million nationwide, if the United States
fails to take measures to solve the economic problems that foreclosure proceedings
entail.

Puerto Rico’s economic crisis has greatly affected our citizenry, who have been
deprived of their right to own a home.

Most mortgage loans include acceleration clauses and other processes that protect any
unpaid balance owed to the mortgagee.

The citizenry in general is not well aware of the technicalities and complex processes
entailed by the legal obligations incurred under a mortgage loan; therefore, it requires
further orientation with regard to such processes.

In light of the foregoing, the Administration of President Barack Obama created the
Making Home Affordable Program (MHAP) to help mortgagors to refinance or modify
their loans through two (2) programs:

 (A) Home Affordable Refinance Program (HARP): Provides refinancing at lower
     interest rates to homeowners whose loans are guaranteed by Fannie Mae or
     Freddie Mac, including those who owe more than what their home is actually
     worth.

 (B) Home Affordable Modification Program (HAMP): Provides mortgagors with
      incentives to modify their loans by reducing their loan’s interest rate, extending
      their loan’s term, or lowering their mortgage payments up to 35% of their gross
      income.

 The United States Congress enacted legislation in order to require mortgagors of loans
 with Federal guarantees to submit to a mandatory mediation process, before the
 mortgagee initiates a foreclosure proceeding.

 Just as the Federal Government, the Commonwealth Government shall contribute and
 seek alternatives to reduce the number of foreclosure proceedings and prevent, to the
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       extent possible, our citizens from losing their properties. The truth is that alternatives
       are available, but the people are not aware of them.

       Nine states of the United States of America have approved this mandatory mediation
       process to be held before the courts of justice or other mandatory non-judicial
       processes in order to seek alternatives and prevent banks or financial institutions from
       initiating foreclosure proceedings.

       For all of the above reasons the Legislative Assembly of Puerto Rico shall enact a law
       to establish a foreclosure mandatory mediation process to be held in the courts of
       justice or the appropriate administrative forums before a foreclosure proceeding
       against a principal residential property in Puerto Rico is initiated by any banking
       institution. Principal Residential Property shall be understood as the property used as
       principal home, not as a second home; and, for property tax purposes, it shall be
       understood as the main residence or that which would qualify for a tax exemption”.

3.     Plaintiffs reserve the right to amend or modify the class action complaint to include

additional remedies as they have been ascertained.


       E. Puerto Rico Law No. 169 of August 9, 2016


       1.      Puerto Rico Law No. 169 of August 9, 2016, creates the "Mortgage Debtor

Assistance Act" in order to require the creditor of an overdue mortgage loan, that prior to initiating

any legal proceeding that may lead to a claim for money collection and foreclosure, offer the debtor

the loss mitigation alternative and only after that process has been fully completed and the

mortgage debtor knows whether or not he qualifies for such alternative, then the mortgagee may

begin a legal process in the courts of the Commonwealth of Puerto Rico; among other purposes.

       2.      Plaintiffs reserve the right to amend or modify the class action complaint to include

additional remedies as they have been ascertained.




      F. Negligence
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       1.       The Defendants and/or their authorized representatives have acted negligently in

the management of the Defendants mortgages.

       2.       At all times relevant herein, the Defendants, acting as Plaintiffs’ lenders and loan

servicers, had a duty to exercise reasonable care and skill to maintain proper and accurate loan

records and to discharge and fulfill the other incidents attendant to the maintenance, accounting

and servicing of loan records, including, but not limited, accurate crediting of payments made by

Plaintiffs and act diligently and fairly in compliance with applicable rules and regulations.

       3.       In taking the actions alleged above, and in failing to take the actions as alleged

above, Defendants breached their duty of care and skill to Plaintiffs in the servicing of Plaintiffs’

loans by, among other things, failing to properly and accurately credit payments made by

Plaintiffs toward the loans, filing claims and foreclosing proceedings without having the legal

authority and/or proper documentation to do so.

      4.        As a direct and proximate result of the negligence and carelessness of the

managing of Plaintiffs’ accounts, claims and/or foreclosure proceedings by the Defendants,

Plaintiffs suffered general and special damages in an amount to be determined at trial.

      5.        Plaintiffs reserve the right to amend or modify the class action complaint to include

additional remedies as they have been ascertained.

      G. Fault of Diligence

      1.        The Defendants were not diligent in properly investigating the state of affairs of

the management of Plaintiffs’ accounts in the present case.

      2.        Plaintiffs reserve the right to amend or modify the class action complaint to include

additional remedies as they have been ascertained.

     H. Count under Puerto Rico State Law
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        1.        The Defendants failed to comply with Puerto Rico Laws 184 of 2012 and Law No.

169 of 2016.

        2.        Also, Defendants come obliged under Puerto Rico Civil Code Sections 1802 and

1803 to pay for its gross negligence and recklessness in the mortgage handling and actions against

the Plaintiffs in this case.

        3.        Their actions have cause material, physical and mental damages to Plaintiffs.

        4.        Plaintiffs reserve the right to amend or modify the class action complaint to include

additional remedies as they have been ascertained.

  I.         Count under Constitution of the Commonwealth of Puerto

             Rico Article 6 - General Provisions Section 14

             Section 14. Land tenure by corporations.

             1.   No corporation will be authorized to conduct real estate purchase and sale

  business; nor shall he be allowed to possess or have such a class of assets except for those that

  were rationally necessary in order to carry out the purposes to which his creation obeyed; and

  the ownership and management of lands of any corporation authorized to engage in agriculture

  shall be limited, by its charter, to an amount not exceeding five hundred acres; and this

  provision shall be understood as preventing any member of an agricultural corporation having

  an interest of any kind in another corporation of the same nature.

             2.   However, corporations may make loans with real estate guarantees and acquire

  them when necessary for the collection of loans; but they must have said real estate thus

  obtained within five years of having received the property title of the same.

             3.   Corporations that have not organized in Puerto Rico, but do business in Puerto

  Rico, will be obligated to comply with the provisions, to the extent applicable.
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             4.   Defendants transfer the Plaintiffs’ real estate property tittles from one corporation

  to another corporation as a subterfuge in an attempt to avoid violation of the constitutional

  provision previously mentioned. Therefore, holding said Plaintiffs’real estate property tittles

  for more than five years of having received the property title of the same.

             5.   Plaintiffs reserve the right to amend or modify the class action complaint to

  include additional remedies as they have been ascertained.

                                   VII.    PRAYER FOR RELIEF

        1.        The Plaintiffs state that the damages suffered were product of a faulty and / or

negligent handling of Plaintiffs’ mortgages by the Defendants, their representatives and authorized

officials.

        2.        Defendants’ actions have cause great suffering and emotional distress to Plaintiffs.

        3.        The Plaintiffs had not been able to live peacefully and quietly since the start of the

lawsuits and/or foreclosure proceedings.

        4.        The Plaintiffs had mental anguishes and sufferings as a result of the lawsuits and/or

foreclosure proceedings brought against them.

        5.        Defendants directly or indirectly through them, their loan servicers, employees and

representatives, have been continually harassing the Plaintiffs by requiring them pay inexistent or

inaccurate arrears, to communicate with them and threatened to foreclose their property.

        6.        All these negligent acts have destroyed the spirit and strength of the Plaintiffs. They

have caused moral damages; anguish and mental suffering that must be compensated by this

Honorable Court.
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       7.      For all the above-mentioned facts, we understand that under Sections 1802 and

1803 of Puerto Rico Civil Code in force the claimant debt to pay for its gross negligence and

recklessness in the mortgage handling and actions of the Defendants in this case.

       8.      Defendants are subject to the civil penalties of TILA. U.S.C. § 1640(a). Civil

damages are appropriate when disclosure requirements have been violated, and liability is imposed

despite the creditor’s alleged good faith and reasonableness. Ratner v. Chemical Bank N.Y. Trust

Co., 329 F. Supp. 270 (S.D.N.Y. 1971).

       9.      Defendants’ violations of the general requirements and rescission requirements

give rise to statutory damage claims. U.S.C. § 1640(a). For open-end credit transactions, statutory

damages are awarded in the amount twice of the amount of finance charge. If the action arises out

of a credit transaction secured by a dwelling, the consumer is entitled to a minimum award of $200

but not more than $2,000. U.S.C. § 1640(a)(2)(A)(i-iii). Only one statutory recovery is allowed

even there are multiple disclosure violations in a transaction. U.S.C. § 1640(g).

       10.     Plaintiffs are entitled attorney’s fees in a successful action or when they are

“determined to have a right of rescission under section 1635,” even if the consumer is not obligated

to pay his or her attorney. U.S.C. § 1640(3); Andrews v. Chevy Chase Bank, 240 F.R.D. at 621

(“because […] plaintiffs have a right of rescission, they are entitled to attorneys’ fees”); Kessler v.

Associates Financial Servs. Co. of HI, Inc., 639 F.2d 498, 499 (C.A. Hi. 1981) (attorney’s fees are

awarded even the plaintiffs are represented without charge by legal services attorneys). Attorney’s

fees include the cost of the action and “a reasonable attorney’s fee as determined by the court.”

U.S.C. § 1640(3).

       11.     Plaintiff are entitled for actual damages when a creditor fails to comply with the

requirements imposed by TILA, in the amount equal to the sum of any actual damage sustained
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by the consumer as a result of the creditor’s violation. U.S.C. § 1640(a)(1). Courts may require the

consumer to show actual reliance upon the accuracy of the disclosures in order to claim actual

damages. Perrone v. General Motors Acceptance Corp., 232 F.3d 433, 435-439 (5th Cir. 2000);

Peters v. Jim Lupient Oldsmobile Co., 220 F.3d 915, 917 (8th Cir. 2000) (detrimental reliance is

established when the plaintiff shows that she read and understood the disclosures and that if the

disclosures have been accurate, she would have sought and obtained a lower loan).



       WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated pray

for judgment against Defendants as follows:

   A. An order certifying this case as a class action and appointing Plaintiffs and their counsels

       to represent the Class Members;

   B. Restitution to Plaintiffs and Class Members;

   C. Actual damages for injuries suffered by Plaintiffs and Class Members;

   D. An order declaring the alleged acts and practices of Defendants to constitute a breach of

       contract and a breach of the covenant of good faith and fair dealing;

   E. An order for Defendants’ specific performance of its contractual obligations together with

       other relief required by contract and law;

   F. An order for Defendants provides relief including a reduction in the principal amount of

       the loans to fair market value of the properties.

   G. Reasonable attorneys' fees and the costs of this action;

   H. Statutory pre-judgment interest;
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  I. Award Plaintiffs damages against all Defendants, jointly and severally, in an amount no

     less than $3,500,000,000.00 to be proven at trial together with prejudgment interests, costs

     and attorney fees and;

  J. Such other relief as this Court may deem just and proper.

                          VIII. DEMAND FOR JURY TRIAL

     Plaintiffs hereby demand trial of their claims by jury to the extent authorized by law.

     RESPECTFULLY SUMBITTED this 18th day of January, 2018.



S/VANESSA SAXTON-ARROYO                          S/JOSEPH GIERBOLINI
USDC PR No.: 216509                              USDC PR No.: 229014
P.O. Box 191590, San Juan, PR 00919-1590         PO Box 191620 San Juan, PR 00919-1620
787-667-8094, vanessa.saxton@capr.org            787- 225-5367 juriszone@capr.org


S/JOHN A. STEWART-SOTOMAYOR
USDC PR No.: 231804
PO BOX 140357, Arecibo PR 00614-0357
787-955-0516 stewart_j_esq@msn.com
